      Case 4:23-cv-03615        Document 8      Filed on 03/07/25 in TXSD         Page 1 of 1
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                             UNITED STATES DISTRICT COURT                                 March 07, 2025
                              SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


ROSLIE CONNER ESTATE,                            §
                                                 §
         Plaintiff,                              §
                                                 §
VS.                                              §   CIVIL ACTION NO. 4:23-CV-03615
                                                 §
PHH MORTGAGE CORPORATION, et al.,                §
                                                 §
         Defendants.                             §
                                                 §

                                             ORDER

        The plaintiff’s motion to extend time to respond to the defendant’s motion for summary

judgment (Dkt. No. 6) is Granted. Already 21 days has passed. Nevertheless, the plaintiff is granted

to March 28, 2025 to respond.

        It is so ORDERED.

        SIGNED on March 7, 2025, at Houston, Texas.


                                                      _________________________________
                                                      Kenneth M. Hoyt
                                                      United States District Judge




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